                     IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF ARIZONA

In re:                                       )          CASE NO. 4:17-bk-11112-BMW
                                             )
FARWEST PUMP COMPANY                         )          BUSINESS AND INDUSTRY
                                             )          MONTHLY OPERATING REPORT
                                             )
                                             )          MONTH OF July, 2020
                                             )
                                             )          DATE PETITION FILED:           9/20/2017
                                     Debtor. )
                                             )          TAX PAYER ID NO. :         XX-XXXXXXX


Nature of Debtor's Business: Water Development (Well Drilling, Pumps and Controls Installation
Consultation in Water Development, Rent Equipment not being used

          DATE DISCLOSURE STATEMENT FILED                          TO BE FILED

         DATE PLAN OF REORGANIZATION FILED                         TO BE FILED

         I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOLLOWING MONTHLY OPERATING REPORT AND
          THE ACCOMPANYING ATTACHMENTS ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE.

RESPONSIBLE PARTY:

/s/ Channa R. Crews-Vaught                                         President
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                        TITLE

Channa R Crews-Vaught                                                 17-Aug-20
PRINTED NAME OF RESPONSIBLE PARTY                                              DATE

PREPARER:

/s/ Channa R. Crews-Vaught                                         President
ORIGINAL SIGNATURE OF PREPARER                                                 TITLE

Channa R Crews-Vaught                                                 17-Aug-20
PRINTED NAME OF PREPARER                                                       DATE

            PERSON TO CONTACT REGARDING THIS REPORT: Kasey Nye, Attorney

                                                 PHONE NUMBER: 520-245-6238

                                                        ADDRESS:

   FILE ORIGINAL REPORT ELECTRONICALLY WITH THE COURT, FILE PAPER COPY WITH U.S. TRUSTEE'S OFFICE




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                                                   General Acct                 Tax Acct                 UMB           Insurance Proceeds Monies in Transit Insurance Proceeds Insurance Proceeds      Total

                                              Alliance Bank 8826         Alliance Bank 6840       Alliance Bank 8991   Alliance Bank 5644   Monies in Transit Waterfall Attorneys   Schmidt Sethi


Balance at Beginning of Period                            $82,167.98                  $2,688.10                                $34,290.64                              $28,629.65                      $147,776.37

RECEIPTS
   Cash Sales
   Accounts Receivable                                    $10,000.00                                                                                                                                    $10,000.00
   Loans and Advances
   Sale of Assets
   Transfers from Other DIP Accounts




   Other (attach list)                                        $200.00                                                                                                                                       $200.00

   TOTAL RECEIPTS                                         $10,200.00                                                                                                                                    $10,200.00

DISBURSEMENTS
   Business - Ordinary Operations                              $73.00                                                                                                                                        $73.00
   Capitol Improvements
   Pre-Petition Debt                                        $2,254.94                                                                                                                                      $2,254.94
   Transfers to Other DIP Accounts
   Other (attach list)



  Reorganization Expenses:
      Attorney Fees
      Accountant Fees
      Other Professional Fees
      U. S. Trustee Quarterly Fee
      Court Costs


  TOTAL DISBURSEMENTS                                       $2,327.94                                                                                                                                      $2,327.94


Balance at End of Month                                   $90,040.04                  $2,688.10                                $34,290.64                              $28,629.65                      $155,648.43
*Information provided above should reconcile with balance sheet and income statement amounts


DISBURSEMENTS FOR CALCULATING QUARTERLY FEES:
  Total Disbursements From Above                                                                                                                                                                           $2,327.94
   Less: Transfers to Other DIP Accounts
   Plus: Estate Disbursements Made by Outside Sources (payments from escrow; 2-party check; etc.)
  Total Disbursements for Calculating Quarterly Fees                                                                                                                                                       $2,327.94




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Case Number: 4:17-bk-11112-BMW                                                   INCOME STATEMENT
                                                                                            (Accrual Basis)

*Debtor's own form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals,
(2) year-to-date and filing-to-date information is provided, and (3) if reorganization expenses are segregated in the statement.

REVENUES                                                    Current Month                   Year to Date                 Total SInce Filing
 Gross Revenue
 Less: Returns & Discounts
       Net Revenue                                                          $0.00                         $0.00                           $0.00

COST OF GOODS SOLD                                    SEE ATTACHED
  Material
  Direct Labor
  Direct Overhead (attach detail)
      Total Cost of Goods Sold                                              $0.00                          $0.00                          $0.00

       GROSS PROFIT                                                         $0.00                         $0.00                           $0.00


OPERATING EXPENSES
 Officer/Insider Compensation
 Selling & Marketing (attach detail)
 General & Administrative (attach detail)
 Other Expenses (attach detail)
       Total Operating Expenses                                             $0.00                          $0.00                          $0.00

Income Before Non-operating Income and
Expense                                                                     $0.00                          $0.00                          $0.00

OTHER INCOME & EXPENSE
 Other Income (attach list)
  Other Expense (attach list)
  Interest Expense
  Depreciation/Depletion
  Amortization
       Net Other Income & Expense                                           $0.00                         $0.00                           $0.00

Income Before Reorganization Expense                                        $0.00                          $0.00                          $0.00

REORGANIZATION EXPENSES
  Professional Fees
  U.S. Trustee Fees
  Other (attach list)
       Total Reorganization Expenses                                        $0.00                          $0.00                          $0.00

 Income Tax                                                                 $0.00                          $0.00                          $0.00

NET PROFIT OR (LOSS)                                                        $0.00                          $0.00                          $0.00

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9:57 AM                                       Farwest Pump Company
08/17/20                                            Profit & Loss
Accrual Basis                         September 20, 2017 through July 31, 2020

                                                                         Sep 20, '17 - Jul 31, 20
                Ordinary Income/Expense
                     Income
                        Gain/Loss on Sale of Asset                                                  13,369.32
                        Other Income
                           Joel Rodriguez Reimb of Theft
                             Joel Rodriguez Restitution                            5,449.98

                          Total Joel Rodriguez Reimb of Theft                              5,449.98

                          Other Income - Tucson                                         877,713.69
                          Other Income - Other                                          702,853.98

                        Total Other Income                                                     1,586,017.65

                        Service Charges
                          Service Charges - Tucson                                            100.00

                        Total Service Charges                                                           100.00

                        Well Abandonment
                          Well Abandonment - Tucson                                      30,340.00

                        Total Well Abandonment                                                      30,340.00

                     Total Income                                                              1,629,826.97

                     Cost of Goods Sold
                       Commissions/Bonuses
                          Commissions/Bonuses-Tucson                                       1,320.00
                          Commissions/Bonuses - Other                                      5,916.65

                        Total Commissions/Bonuses                                                    7,236.65

                        Outside Labor/Services                                                      12,580.38

                        Purchases
                          Purchases-Tucson                                               -15,919.30

                        Total Purchases                                                           -15,919.30

                        Sales Tax Expense                                                               900.00

                     Total COGS                                                                      4,797.73

                  Gross Profit                                                                 1,625,029.24

                     Expense
                       Accounting Expense - Overhead                                                13,199.28

                        Advertising Expense
                          Advertising - Tucson                                                190.95
                          Advertising Expense - Other                                         370.00

                        Total Advertising Expense                                                       560.95

                        Bank Charges
                          Bank Charges - Tucson                                            1,507.22
                          Cash Over/Short
                             Cash Over/Short - Tucson                               -293.01

                          Total Cash Over/Short                                               -293.01

                          Bank Charges - Other                                                 45.00

                        Total Bank Charges                                                           1,259.21

                        Drilling Supplies
                           Drilling Supplies - Tucson                                     -1,035.76
                           Drilling Supplies - Other                                       4,375.00

                        Total Drilling Supplies                                                      3,339.24


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08/17/20                                           Profit & Loss
Accrual Basis                     September 20, 2017 through July 31, 2020

                                                                     Sep 20, '17 - Jul 31, 20
                    Entertainment & Bus Promotions
                      Entertainment & Bus Promotion T                                     453.71

                    Total Entertainment & Bus Promotions                                           453.71

                    Facility Rent
                      Facility Rent-Willcox                                            7,750.00
                      Facility Rent - Tucson                                           9,250.00

                    Total Facility Rent                                                         17,000.00

                    Insurance Expense
                       Bond Insurance Expense - Overhe
                         Bond Insurance Expense                                  199.00

                      Total Bond Insurance Expense - Overhe                               199.00

                      General Liability Insurance - T
                        General Liability Insurance-Far                         -163.00
                        General Liability Insurance - O                        5,709.30

                      Total General Liability Insurance - T                            5,546.30

                    Total Insurance Expense                                                      5,745.30

                    Interest/Finance Charge
                       Interest/Finance Charge - Tucso                               46,484.94

                    Total Interest/Finance Charge                                               46,484.94

                    Legal Expense
                      Legal Expense - Bankruptcy                                    306,262.41
                      Legal Expense - Overhead
                         Legal Expense - Atty Rodriguez                       73,406.11
                         Legal Accounting - J. Rodriguez                       2,766.78
                         Legal Expense - Overhead - Other                    150,000.00

                      Total Legal Expense - Overhead                                226,172.89

                      Legal Expense - Tucson
                        Legal Software/Supplies - TSN                            101.13
                        Legal Expense - Tucson - Other                       191,824.10

                      Total Legal Expense - Tucson                                  191,925.23

                      Legal Expense - Other                                                 0.00

                    Total Legal Expense                                                     724,360.53

                    Licenses/Permits
                       License/Permits-Willcox                                             12.00
                       Licenses/Permits - Other                                           977.00

                    Total Licenses/Permits                                                         989.00

                    Medical/Dental Ins - Officer                                                -7,417.00
                    Office Supplies
                       Office Supplies - Tucson                                          740.98
                       Office Supplies - Other                                         3,276.21

                    Total Office Supplies                                                        4,017.19

                    Payroll Expense
                      Net Payroll Expense
                         Payroll - Officer                                       132.00

                          Net Payroll Expense - Other                              0.00

                      Total Net Payroll Expense                                           132.00




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08/17/20                                            Profit & Loss
Accrual Basis                          September 20, 2017 through July 31, 2020

                                                                          Sep 20, '17 - Jul 31, 20
                          Payroll Taxes
                            FICA/Medicare
                               Fica/Medicare - Tucson                         100.98
                               FICA/Medicare - Other                           10.09

                             Total FICA/Medicare                                       111.07

                             FUTA
                               FUTA - Tucson                                    7.92
                               FUTA - Other                                     0.79

                             Total FUTA                                                  8.71

                             SUI
                               SUI - Tucson                                    36.30
                               SUI - Other                                     11.10

                             Total SUI                                                  47.40

                          Total Payroll Taxes                                                   167.18

                          Payroll Processing Expense                                        2,320.00

                       Total Payroll Expense                                                         2,619.18

                       Postage
                         Postage - Tucson                                                        33.00

                       Total Postage                                                                      33.00

                       Taxes                                                                             108.44

                       Telephone
                          Mobile Phone
                            Mobile Phone-Willcox                                      131.57
                            Mobile Phone - Tucson                                   1,440.00

                          Total Mobile Phone                                                1,571.57

                       Total Telephone                                                               1,571.57

                       Truck/Equip Repair/Maint                                                      1,837.46

                       Vehicle Registration
                         Vehicle Registration-Tucson                                              4.00

                       Total Vehicle Registration                                                          4.00

                     Total Expense                                                                816,166.00

                Net Ordinary Income                                                               808,863.24

                Other Income/Expense
                  Other Income
                     Miscellaneous Income
                        BK CH11 Discharged Debt                                          289,888.95
                        Miscellaneous Income - Other                                      70,033.17

                     Total Miscellaneous Income                                                   359,922.12

                  Total Other Income                                                              359,922.12




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08/17/20                                           Profit & Loss
Accrual Basis                          September 20, 2017 through July 31, 2020

                                                                          Sep 20, '17 - Jul 31, 20
                     Other Expense
                       Accounting Expense - Bankruptcy                                            33,488.50
                       US Bankruptcy Fees                                                         13,650.00
                       Penalties                                                                     360.00
                       Depreciation                                                              592,118.41

                     Total Other Expense                                                         639,616.91

                  Net Other Income                                                              -279,694.79

                Net Income                                                                       529,168.45




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08/17/20                                           Profit & Loss
Accrual Basis                                  January through July 2020

                                                                           Jan - Jul 20
                Ordinary Income/Expense
                     Income
                        Other Income
                           Joel Rodriguez Reimb of Theft
                             Joel Rodriguez Restitution                    1,400.00

                           Total Joel Rodriguez Reimb of Theft                    1,400.00

                           Other Income - Tucson                                  4,000.00
                           Other Income - Other                                  32,550.00

                        Total Other Income                                                 37,950.00

                     Total Income                                                          37,950.00

                     Cost of Goods Sold
                       Commissions/Bonuses                                                  5,614.00

                        Outside Labor/Services                                             10,997.50

                     Total COGS                                                            16,611.50

                  Gross Profit                                                             21,338.50

                     Expense
                       Accounting Expense - Overhead                                            560.89

                        Bank Charges
                          Bank Charges - Tucson                                        14.00
                          Bank Charges - Other                                         45.00

                        Total Bank Charges                                                       59.00

                        Facility Rent
                          Facility Rent-Willcox                                   1,750.00
                          Facility Rent - Tucson                                  1,750.00

                        Total Facility Rent                                                 3,500.00

                        Insurance Expense
                           General Liability Insurance - T
                             General Liability Insurance - O                -310.00

                           Total General Liability Insurance - T                      -310.00

                        Total Insurance Expense                                                 -310.00

                        Interest/Finance Charge
                           Interest/Finance Charge - Tucso                            947.99

                        Total Interest/Finance Charge                                           947.99

                        Legal Expense
                          Legal Expense - Bankruptcy                            161,262.41
                          Legal Expense - Tucson                                 66,824.10

                        Total Legal Expense                                               228,086.51

                        Payroll Expense
                          Payroll Processing Expense                                  426.00

                        Total Payroll Expense                                                   426.00

                        Truck/Equip Repair/Maint                                            1,837.46

                     Total Expense                                                        235,107.85

                Net Ordinary Income                                                       -213,769.35




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08/17/20                                        Profit & Loss
Accrual Basis                               January through July 2020

                                                                        Jan - Jul 20
                  Other Income/Expense
                    Other Expense
                       Accounting Expense - Bankruptcy                                  33,488.50
                       US Bankruptcy Fees                                                6,175.00
                       Depreciation                                                    120,108.94

                     Total Other Expense                                               159,772.44

                  Net Other Income                                                     -159,772.44

                Net Income                                                             -373,541.79




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9:41 AM                                            Farwest Pump Company
08/17/20                                              Profit & Loss
Accrual Basis                                             July 2020

                                                                           Jul 20
                  Ordinary Income/Expense
                       Income
                          Other Income
                             Joel Rodriguez Reimb of Theft
                               Joel Rodriguez Restitution                 200.00

                               Total Joel Rodriguez Reimb of Theft              200.00

                               Other Income - Other                           4,650.00

                             Total Other Income                                        4,850.00

                       Total Income                                                    4,850.00

                    Gross Profit                                                       4,850.00

                       Expense
                         Facility Rent
                           Facility Rent-Willcox                                250.00
                           Facility Rent - Tucson                               250.00

                             Total Facility Rent                                            500.00

                             Payroll Expense
                               Payroll Processing Expense                           58.00

                             Total Payroll Expense                                           58.00

                       Total Expense                                                        558.00

                  Net Ordinary Income                                                  4,292.00

                  Other Income/Expense
                    Other Expense
                       Depreciation                                                   17,158.42

                    Total Other Expense                                               17,158.42

                  Net Other Income                                                   -17,158.42

                Net Income                                                           -12,866.42




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08/17/20                                            Profit & Loss
Cash Basis                          September 20, 2017 through July 31, 2020

                                                                       Sep 20, '17 - Jul 31, 20
              Ordinary Income/Expense
                   Income
                      Freight Charges
                         Freight Charges - Tucson                                            15.63

                      Total Freight Charges                                                           15.63

                      Gain/Loss on Sale of Asset                                                  13,369.32
                      Material Sales
                        Material Sales-Tucson                                               105.42

                      Total Material Sales                                                           105.42

                      Minor Repair/Maintenance
                        Minor Repair/Maintenance-Tucson                                     349.25

                      Total Minor Repair/Maintenance                                                 349.25

                      Other Income
                        Joel Rodriguez Reimb of Theft
                           Joel Rodriguez Restitution                            5,449.98

                        Total Joel Rodriguez Reimb of Theft                              5,449.98

                        Other Income - Tucson                                         877,713.69
                        Other Income - Other                                          538,012.10

                      Total Other Income                                                     1,421,175.77

                      Renovation/New System
                        Renovation/New System-Tucson                                     5,474.81

                      Total Renovation/New System                                                  5,474.81

                      Service Charges
                        Service Charges - Tucson                                            100.00

                      Total Service Charges                                                          100.00

                      Well Abandonment
                        Well Abandonment - Tucson                                      30,340.00

                      Total Well Abandonment                                                      30,340.00

                      Well Video Income
                        Well Video Income - Tucson                                          500.00

                      Total Well Video Income                                                        500.00

                   Total Income                                                              1,471,430.20

                   Cost of Goods Sold
                     Commissions/Bonuses
                        Commissions/Bonuses-Tucson                                       1,320.00
                        Commissions/Bonuses - Other                                      5,916.65

                      Total Commissions/Bonuses                                                    7,236.65

                      Outside Labor/Services
                        Outside Labor/Service-Tucson                                  131,954.25
                        Outside Labor/Services - Other                                 12,580.38

                      Total Outside Labor/Services                                            144,534.63

                      Purchases
                        Purchases-Tucson                                               -14,044.30
                        Purchases-Willcox                                                  653.00

                      Total Purchases                                                          -13,391.30




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08/17/20                                          Profit & Loss
Cash Basis                         September 20, 2017 through July 31, 2020

                                                                      Sep 20, '17 - Jul 31, 20
                     Rental Equipment
                       Rental Equipment - Tucson                                        1,850.57

                     Total Rental Equipment                                                       1,850.57

                     Sales Tax Expense                                                               900.00

                  Total COGS                                                                  141,130.55

                Gross Profit                                                                1,330,299.65

                  Expense
                    Accounting Expense - Overhead                                                13,199.28

                     Advertising Expense
                       Advertising - Tucson                                                190.95
                       Advertising Expense - Other                                         370.00

                     Total Advertising Expense                                                       560.95

                     Bank Charges
                       Bank Charges - Tucson                                            1,507.22
                       Cash Over/Short
                          Cash Over/Short - Tucson                               -293.01

                        Total Cash Over/Short                                              -293.01

                        Bank Charges - Other                                                45.00

                     Total Bank Charges                                                           1,259.21

                     Drilling Supplies
                        Drilling Supplies-Willcox                                         259.28
                        Drilling Supplies - Tucson                                      1,807.24
                        Drilling Supplies - Other                                       4,375.00

                     Total Drilling Supplies                                                      6,441.52

                     Employee Supplies
                       Employee Supplies - Tucson                                           78.18

                     Total Employee Supplies                                                          78.18

                     Entertainment & Bus Promotions
                       Entertainment & Bus Promotion T                                     453.71

                     Total Entertainment & Bus Promotions                                            453.71

                     Insurance Expense
                        Bond Insurance Expense - Overhe
                          Bond Insurance Expense                                  199.00

                        Total Bond Insurance Expense - Overhe                              199.00

                        General Liability Insurance - T
                          General Liability Insurance-Far                        -163.00
                          General Liability Insurance - O                       5,709.30

                        Total General Liability Insurance - T                           5,546.30

                     Total Insurance Expense                                                      5,745.30

                     Interest/Finance Charge
                        Interest/Finance Charge - Tucso                               46,484.94

                     Total Interest/Finance Charge                                               46,484.94

                     Legal Expense
                       Legal Expense - Bankruptcy                                    306,262.41




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08/17/20                                          Profit & Loss
Cash Basis                        September 20, 2017 through July 31, 2020

                                                                     Sep 20, '17 - Jul 31, 20
                      Legal Expense - Overhead
                        Legal Expense - Atty Rodriguez                        70,175.34
                        Legal Accounting - J. Rodriguez                        6,609.15
                        Legal Expense - Overhead - Other                     189,498.46

                      Total Legal Expense - Overhead                                266,282.95

                      Legal Expense - Tucson
                        Legal Software/Supplies - TSN                            101.13
                        Legal Expense - Tucson - Other                       204,635.61

                      Total Legal Expense - Tucson                                  204,736.74

                      Legal Expense - Other                                                  0.00

                    Total Legal Expense                                                      777,282.10

                    Licenses/Permits
                       License/Permits-Willcox                                              12.00
                       Licenses/Permits - Other                                            977.00

                    Total Licenses/Permits                                                          989.00

                    Medical/Dental Ins - Officer                                                -7,417.00
                    Non-Vehicle Repair/Maint
                      Non-Veh Rep/Maint - Shop T                                      26,200.66

                    Total Non-Vehicle Repair/Maint                                              26,200.66

                    Office Supplies
                       Office Supplies - Tucson                                          740.98
                       Office Supplies - Other                                         3,267.21

                    Total Office Supplies                                                        4,008.19

                    Payroll Expense
                      Net Payroll Expense
                         Payroll - Officer                                        132.00

                         Net Payroll Expense - Other                                0.00

                      Total Net Payroll Expense                                            132.00

                      Payroll Taxes
                        FICA/Medicare
                           Fica/Medicare - Tucson                        100.98
                           FICA/Medicare - Other                          10.09

                         Total FICA/Medicare                                      111.07

                         FUTA
                           FUTA - Tucson                                   7.92
                           FUTA - Other                                    0.79

                         Total FUTA                                                 8.71

                         SUI
                           SUI - Tucson                                   36.30
                           SUI - Other                                    11.10

                         Total SUI                                                 47.40

                      Total Payroll Taxes                                                  167.18

                      Payroll Processing Expense                                       2,320.00
                      Workman's Comp Ins. Exp. Rate
                        Workman's Comp Insurance - Over                        5,233.00

                      Total Workman's Comp Ins. Exp. Rate                              5,233.00

                    Total Payroll Expense                                                        7,852.18


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08/17/20                                               Profit & Loss
Cash Basis                                September 20, 2017 through July 31, 2020

                                                                             Sep 20, '17 - Jul 31, 20
                          Postage
                            Postage - Tucson                                                      33.00

                          Total Postage                                                                    33.00

                          Shop Supplies
                            Shop Supplies - Tucson                                             6,146.66

                          Total Shop Supplies                                                           6,146.66

                          Taxes                                                                           108.44

                          Truck/Equip Repair/Maint
                             Truck/Equip Repair/Maint-Shop T                                     685.25
                             Truck/Equip Repair/Maint - Other                                  1,837.46

                          Total Truck/Equip Repair/Maint                                                2,522.71

                          Vehicle Registration
                            Vehicle Registration-Tucson                                        4,134.65
                            Vehicle Registration-Willcox                                       2,229.26

                          Total Vehicle Registration                                                    6,363.91

                    Total Expense                                                                   898,312.94

               Net Ordinary Income                                                                  431,986.71

               Other Income/Expense
                 Other Income
                    Miscellaneous Income
                       BK CH11 Discharged Debt                                              289,888.95
                       Miscellaneous Income - Other                                          70,033.17

                    Total Miscellaneous Income                                                      359,922.12

                  Total Other Income                                                                359,922.12

                  Other Expense
                    Accounting Expense - Bankruptcy                                                  33,488.50
                    US Bankruptcy Fees                                                               13,650.00
                    Penalties                                                                           360.00
                    Depreciation                                                                    592,118.41

                  Total Other Expense                                                               639,616.91

               Net Other Income                                                                    -279,694.79

             Net Income                                                                             152,291.92




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9:55 AM                                   Farwest Pump Company
08/17/20                                          Profit & Loss
Cash Basis                                   January through July 2020

                                                                         Jan - Jul 20
                Ordinary Income/Expense
                     Income
                        Other Income
                           Joel Rodriguez Reimb of Theft
                             Joel Rodriguez Restitution                  1,400.00

                          Total Joel Rodriguez Reimb of Theft                   1,400.00

                          Other Income - Tucson                                10,114.47
                          Other Income - Other                                 35,111.50

                        Total Other Income                                               46,625.97

                        Well Abandonment
                          Well Abandonment - Tucson                            27,840.00

                        Total Well Abandonment                                           27,840.00

                     Total Income                                                        74,465.97

                     Cost of Goods Sold
                       Commissions/Bonuses                                                5,614.00

                        Outside Labor/Services                                           10,997.50

                     Total COGS                                                          16,611.50

                  Gross Profit                                                           57,854.47

                     Expense
                       Accounting Expense - Overhead                                          560.89

                        Bank Charges
                          Bank Charges - Tucson                                      14.00
                          Bank Charges - Other                                       45.00

                        Total Bank Charges                                                     59.00

                        Insurance Expense
                           General Liability Insurance - T
                             General Liability Insurance - O              -310.00

                          Total General Liability Insurance - T                     -310.00

                        Total Insurance Expense                                               -310.00

                        Interest/Finance Charge
                           Interest/Finance Charge - Tucso                          947.99

                        Total Interest/Finance Charge                                         947.99

                        Legal Expense
                          Legal Expense - Bankruptcy                          161,262.41
                          Legal Expense - Tucson                               66,824.10

                        Total Legal Expense                                             228,086.51

                        Payroll Expense
                          Payroll Processing Expense                                426.00

                        Total Payroll Expense                                                 426.00

                        Truck/Equip Repair/Maint                                          1,837.46

                     Total Expense                                                      231,607.85

                Net Ordinary Income                                                     -173,753.38




                                                                                                               Page 1
      Case 4:17-bk-11112-BMW          Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                  Desc
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9:55 AM                                   Farwest Pump Company
08/17/20                                       Profit & Loss
Cash Basis                                 January through July 2020

                                                                       Jan - Jul 20
                 Other Income/Expense
                   Other Expense
                      Accounting Expense - Bankruptcy                                  33,488.50
                      US Bankruptcy Fees                                                6,175.00
                      Depreciation                                                    120,108.94

                    Total Other Expense                                               159,772.44

                 Net Other Income                                                     -159,772.44

               Net Income                                                             -333,525.82




                                                                                                           Page 2
      Case 4:17-bk-11112-BMW         Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03               Desc
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9:54 AM                                      Farwest Pump Company
08/17/20                                             Profit & Loss
Cash Basis                                               July 2020

                                                                         Jul 20
                 Ordinary Income/Expense
                      Income
                         Other Income
                            Joel Rodriguez Reimb of Theft
                              Joel Rodriguez Restitution                200.00

                              Total Joel Rodriguez Reimb of Theft                200.00

                              Other Income - Other                         10,000.00

                            Total Other Income                                      10,200.00

                      Total Income                                                  10,200.00

                   Gross Profit                                                     10,200.00

                      Expense
                        Payroll Expense
                          Payroll Processing Expense                              58.00

                            Total Payroll Expense                                         58.00

                      Total Expense                                                       58.00

                 Net Ordinary Income                                                10,142.00

                 Other Income/Expense
                   Other Expense
                      Depreciation                                                  17,158.42

                   Total Other Expense                                              17,158.42

                 Net Other Income                                                  -17,158.42

               Net Income                                                           -7,016.42




                                                                                                         Page 1
      Case 4:17-bk-11112-BMW            Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03          Desc
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Case Number: 4:17-bk-11112-BMW                                                          COMPARATIVE BALANCE SHEET
                                                                                                              (Accrual Basis)

*Debtor's own form may be substituted if (1) it is prepared in accordance with generally accepted accounting principals, (2) current
and prior period information is provided, and (3) if pre-petition and post-petition liabilities are segregated.
                                                                                     SEE ATTACHED
                                                                               1
ASSETS                                              SCHEDULE AMOUNT                      CURRENT MONTH                      PRIOR MONTH
 Unrestricted Cash
 Restricted Cash
     Total Cash
    Accounts Receivable (net)                                       $122,066.90
    Inventory                                                        $29,920.00
    Notes Receivable                                                $446,045.00
    Prepaid Expenses                                                 $11,000.00
    Other (attach list)
        Total Current Assets
    Property, Plant & Equipment                                   $1,431,878.63
 Less: Accumulated Depreciation
     Net Property, Plant & Equip.
 Due From Insider(s)
 Other Assets - net (attach list)                                    $25,226.00
 Other (attach list)
TOTAL ASSETS                                                      $2,066,136.53                               $0.00                    $0.00
POST-PETITION LIABILITIES
 Accounts Payable                                                                                                                      $0.00
    Taxes Payable
    Notes Payable
    Professional Fees
    Secured Debt                                                    $771,958.60
    Other (attach list)
     Total Post-Petition Liabilities                                $771,958.60
PRE-PETITION LIABILITIES
    Secured Debt                                                    $771,958.60
    Priority Debt
    Unsecured Debt
    Other (attach list)                                           $1,427,754.67
        Total Pre-Petition Liabilities                            $2,199,713.27
TOTAL LIABILITIES                                                 $2,971,671.87
EQUITY
    Pre-petition Owner's Equity                                    -$132,619.05
    Post-Petition Cumulative Profit/Loss
    Direct Charges to Equity (explain)
        Total Equity                                               -$132,619.05                               $0.00                    $0.00
TOTAL LIABILITIES & OWNER'S EQUITY                                $2,839,052.82                               $0.00                    $0.00
1
    This column should reflect the information provided in Schedules A, B, C, D, E, and F filed with the Court

                                                                          Page 4

            Case 4:17-bk-11112-BMW                 Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                             Desc
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10:00 AM                                         Farwest Pump Company
08/17/20                                             Balance Sheet
Accrual Basis                                        As of July 31, 2020

                                                                           Jul 31, 20
                ASSETS
                  Current Assets
                    Checking/Savings
                       Waterfall Trust Account                                           52,570.40
                       Schmidt Trust Account                                             36,242.09
                       5644 - Alliance Bank Insurance                                    34,290.64
                       6840 - Alliance Bank Tax                                           2,688.10
                       8826 - Alliance Bank General                                      90,040.04
                       Suspense                                                          25,000.00

                     Total Checking/Savings                                             240,831.27

                     Accounts Receivable
                       Account Receivable-Willcox                                        22,489.31
                       Accounts Receivable-Tucson                                       366,727.85

                     Total Accounts Receivable                                          389,217.16

                     Other Current Assets
                       Inventory                                                         29,920.00

                     Total Other Current Assets                                          29,920.00

                  Total Current Assets                                                  659,968.43

                  Fixed Assets
                     Tenant Improvements                                               43,848.66
                     Vehicles & Equipment                                           1,943,708.59
                     Accum. Depreciation                                           -1,302,691.02

                  Total Fixed Assets                                                    684,866.23

                  Other Assets
                    Prepaid Mexico Withholding                                            2,874.45

                  Total Other Assets                                                      2,874.45

                TOTAL ASSETS                                                        1,347,709.11

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             Accounts Payable
                               Accounts Payable - California                 51,570.00
                               Accounts Payable - Other                     209,297.76

                           Total Accounts Payable                                       260,867.76

                        Total Accounts Payable                                          260,867.76

                        Credit Cards
                          01009 - FWP Plum Amex                                          58,692.69

                        Total Credit Cards                                               58,692.69

                        Other Current Liabilities
                          EIDL Stimulus Payment                                           2,000.00
                          Accrued Legal Fees                                             54,232.50
                          Current Portion of LT Debt                                    309,246.00
                          Sales Tax Payable
                             Sales Tax Payable - Az                              -76.92

                           Total Sales Tax Payable                                          -76.92

                        Total Other Current Liabilities                                 365,401.58

                     Total Current Liabilities                                          684,962.03




                                                                                                            Page 1
      Case 4:17-bk-11112-BMW             Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03            Desc
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10:00 AM                                     Farwest Pump Company
08/17/20                                           Balance Sheet
Accrual Basis                                      As of July 31, 2020

                                                                         Jul 31, 20
                     Long Term Liabilities
                       BNP Paribas - JCB Backhoes                                       20,494.06
                       9001 UMB Loan - Foremost DR24                                   276,881.22
                       Less - Current Portion of LT D                                 -309,246.00

                     Total Long Term Liabilities                                       -11,870.72

                  Total Liabilities                                                   673,091.31

                  Equity
                    Clark Vaught - N/P                                                  19,446.16
                    Common Stock                                                         1,000.00
                    Paid in Capital                                                    103,139.92
                    Retained Earnings                                                  924,574.53
                    Net Income                                                        -373,541.79

                  Total Equity                                                        674,618.82

                TOTAL LIABILITIES & EQUITY                                        1,347,710.13




                                                                                                           Page 2
      Case 4:17-bk-11112-BMW             Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03           Desc
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Case Number: 4:17-bk-11112-BMW                                                                STATUS OF ASSETS
 *Information provided on this page should reconcile with balance sheet amounts

ACOUNTS RECEIVABLE                                              TOTAL             0-30 Days     31-60 Days      60+ Days
Total Accounts Receivable                                         $393,833.30       $4,650.00      $4,650.00           $384,533.30
 Less Amount Considered Uncollectible                               $40,688.00                                          $40,688.00
Net Accounts Receivable                                           $353,145.30                                          $343,845.30

DUE FROM INSIDER
Schedule Amount
 Plus: Amount Loaned Since Filing Date
 Less: Amount Collected Since Filing Date
 Less: Amount Considered Uncollectible
Net Due From Insiders

INVENTORY
Beginning Inventory                                                                $29,920.00
Plus: Purchases
Less: Cost of Goods Sold
Ending Inventory                                                                   $29,920.00

                Date Last Inventory was taken:                       9/20/2017

FIXED ASSETS                                           SCHEDULE AMOUNT ADDITIONS                DELETIONS CURRENT AMOUNT
Real Property
Buildings
 Accumulated Depreciation
 Net Buildings
Equipment                                                       $1,225,508.72
 Accumulated Depreciation
 Net Equipment
Autos/Vehicles                                                    $214,113.42
 Accumulated Depreciation
 Net Autos/Vehicles

Provide a description of fixed assets added or deleted during the reporting period; include the date of Court order:




                                                                       Page 5




      Case 4:17-bk-11112-BMW                       Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                      Desc
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10:01 AM                                       Farwest Pump Company
08/17/20                                       A/P Aging Summary
                                                        As of July 31, 2020

                                              Current         1 - 30     31 - 60       61 - 90       > 90        TOTAL
             Ace Bit & Supply                      0.00           0.00          0.00        0.00     2,038.00     2,038.00
             Ahern Rentals                         0.00           0.00          0.00        0.00    29,481.19    29,481.19
             AP YE                                 0.00           0.00          0.00        0.00         0.00         0.00
             AZ Computer Guru                      0.00           0.00          0.00        0.00       -88.50       -88.50
             Beach Fleishchman                     0.00           0.00          0.00        0.00    49,914.00    49,914.00
             Big Brand Tire & Service              0.00           0.00          0.00        0.00         0.00         0.00
             BMR USA LLC                           0.00           0.00          0.00        0.00         0.00         0.00
             Channa Vaught                         0.00         500.00        500.00        0.00    15,992.16    16,992.16
             CT Corporation                        0.00           0.00          0.00        0.00       258.00       258.00
             David Leonard                         0.00           0.00          0.00        0.00    27,634.80    27,634.80
             Dykman Electric                       0.00           0.00          0.00        0.00         0.00         0.00
             Farwest Pump                          0.00           0.00          0.00        0.00         0.00         0.00
             Forklift Echange                      0.00           0.00          0.00        0.00    28,975.26    28,975.26
             Monroe & McDonough, P.C.              0.00           0.00          0.00        0.00    15,518.22    15,518.22
             San Joaquin Bit                       0.00           0.00          0.00        0.00    25,387.00    25,387.00
             Specialty Freight Solutions           0.00           0.00          0.00        0.00    10,500.00    10,500.00
             Stubbs & Schubart                     0.00           0.00          0.00        0.00    15,188.10    15,188.10
             Talwar Law, PLLC                      0.00           0.00          0.00        0.00     9,347.91     9,347.91
             Travelers Ins                         0.00           0.00          0.00        0.00    21,449.56    21,449.56
             UniFirst                              0.00           0.00          0.00        0.00         0.00         0.00
             United Health Care                    0.00           0.00          0.00        0.00         0.00         0.00
             Verizon                               0.00           0.00          0.00        0.00     5,378.98     5,378.98
             Waste Management of Tucson            0.00           0.00          0.00        0.00     1,738.08     1,738.08
             Waterfall Econmidis Caldwell          0.00           0.00          0.00        0.00     1,155.00     1,155.00

           TOTAL                                   0.00         500.00        500.00        0.00   259,867.76   260,867.76




                                                                                                                             Page 1
       Case 4:17-bk-11112-BMW               Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                         Desc
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Case Number: 4:17-bk-11112-BMW                                                            STATUS OF LIABILITIES
                                                                                        AND SENSITIVE PAYMENTS
 *Information provided on this page should reconcile with balance sheet and disbursement detail amounts

POST-PETITION LIABILITIES                              TOTAL               0-30 Days             31-60 Days         61-90 Days       91+ Days

 Accounts Payable *                                    $243,867.76                  $0.00                   $0.00            $0.00   $243,867.76
 Taxes Payable                                                 $0.00
 Notes Payable                                                 $0.00

 Professional Fees Payable                                     $0.00
 Secured Debt                                                  $0.00
 Other (attach list)                                    $17,000.00               $500.00                  $500.00            $0.00    $16,000.00


Total Post-Petition Liabilities                        $260,867.76               $500.00                  $500.00            $0.00   $259,867.76
*DEBTOR MUST ATTACH AN AGED ACCOUNTS PAYABLE LISTING


                 PAYMENTS TO INSIDERS AND PROFESSIONALS

                                                                Insiders
                                                                                             Amount Paid this       Total Paid to
                   Name                                  Reason for Payment                      Month                  Date

Clark Vaught                                    Commissions on Consulting                                               $1,240.54




Total Payments to Insiders



                                                            Professionals

                                                 Date of Court
                                                Order Authorizing           Amount           Amount Paid this       Total Paid to
                   Name                            Payment                  Aproved              Month                  Date




Total Payments to Proffessionals
                                                                           Page 6




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         Farwest Pump Company                                                                              10:01 AM

          A/R Aging Summary                                                                               08/17/2020
              As of August 17, 2020
                                                 Current    1 - 30     31 - 60    61 - 90      > 90       TOTAL

   *Collection-NEW* Swan Road Ranch/Bechamp          0.00       0.00       0.00       0.00     1,930.87     1,930.87
   *Monthly* 11275 E. Old Vail Rd./Bechamp           0.00       0.00       0.00       0.00      636.81       636.81
   *Monthly* Gene Davis                              0.00       0.00       0.00       0.00      -148.76      -148.76
   *Monthly* Lou Thiesen                             0.00       0.00       0.00       0.00      378.00       378.00
   *Monthly* Moon Glow Prop.                         0.00       0.00       0.00       0.00     6,133.89     6,133.89
   *Monthly* Nusbaum, Roger A                        0.00       0.00       0.00       0.00      -248.60      -248.60
   *Monthly* Post, Tom                               0.00       0.00       0.00       0.00      582.12       582.12
   *Monthly* Tangerine Water Group                   0.00       0.00       0.00       0.00     1,851.79     1,851.79
   Community Church @ Red Rock                       0.00       0.00       0.00       0.00     1,617.65     1,617.65
   Lewis, Vernon                                     0.00       0.00       0.00       0.00     3,871.95     3,871.95
   McKinney, Bill                                    0.00       0.00       0.00       0.00      180.50       180.50
   Navarrete, Sara                                   0.00       0.00       0.00       0.00      -770.00      -770.00
   Richter, Todd                                     0.00       0.00       0.00       0.00     2,502.15     2,502.15
   Ritter, Arthur D.                                 0.00       0.00       0.00       0.00        65.89        65.89
   TOV Orchards LLC                                  0.00       0.00       0.00       0.00   104,751.25   104,751.25
   Tucson Acquisition and Development Corp.          0.00       0.00       0.00       0.00      145.00       145.00
   Vaught Equipment                                  0.00   4,650.00   4,650.00   4,650.00   229,350.52   243,300.52
   Woods, Wayne                                      0.00       0.00       0.00       0.00      -277.99      -277.99
   Young, Edward                                     0.00       0.00       0.00       0.00     2,001.59     2,001.59
TOTAL                                                0.00   4,650.00   4,650.00   4,650.00   354,554.63   368,504.63




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                         Farwest Pump Company
                           A/R Aging Summary
                             As of September 20, 2017

                                                                      91 and
                         Current     1 - 30    31 - 60    61 - 90      over          Total
Exel Pipeline Services                                                     27.03         27.03
Grace                                                                   5,650.00      5,650.00
John McLoughlin                                                        14,500.00     14,500.00
Kathy Norris                                                            3,768.67      3,768.67
Michael J. Downs                                                        1,410.00      1,410.00
TOTAL                    $    0.00 $     0.00 $     0.00 $    0.00   $ 25,328.67   $ 25,328.67




                         Thursday, Oct 19, 2017 05:18:39 PM GMT-7




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Case Number: 4:17-bk-11112-BMW                                                               CASE STATUS

                                                        QUESTIONAIRE

                                                                                                                 YES       NO
Have any funds been disbursed from any accounts other than a Debtor-in-Possession account?                                 X
Are any post-petition receivables (accounts, notes or loans) due from related parties?                             X
Are any wages past due?                                                                                                    X
Are any U. S. Trustee quarterly fees delinquent?                                                                           X

Provide a detailed explaination of any "YES" answers to the above questions: (attach additional sheets if needed)
Payments are continuing to be made, Collections from Reliant Customers are 60 to 90 days if not longer due to COVID 19

Trucks and Pump Rig to be auctioned upon approval. Negotiating with Unsecured Creditors
Applied for Stimulus Money and received $2000, EIDL $2000 is free


   Current number of employees:                     2


INSURANCE
                                                                                        Payment Amount &
Carrier & Policy Number                       Type of Policy           Period Covered      Frequency
Lloyd's London                           GL                         12/27/19-12/27/20   $4148.64/Annual
Cincinnati                               Auto and Inland Marine     4/1/2020-4/1/2021   Included in Lease Pymt

Lloyd's London                           ProfessionLiab             12/27/19-12/27/20   Included in GL Pymt




What steps have been taken to remedy the problems which brought on the chapter 11 filing?
Selling of assets not being used or leased, Applied for Stimulus Money offered by Government


Filing Insurance Claims on 2013 Theft


Identify any matters that are delaying the filing of a plan of reorganization:
Creditor Committee unwillingness to negotiate payment




                                                                  Page 7




       Case 4:17-bk-11112-BMW              Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                         Desc
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Case Number: 4:17-bk-11112-BMW                                            DISBURSEMENT DETAIL
                                                                                                  Month: July
                                                                                              Account #                  8269

                                                                                             Bank Name UMB

                                                     Cash/Electronic Disbursements
                      Date                   Payee                            Purpose                           Amount




                                                            Total Cash/Electronic Disbursements                      $0.00

                                                     CHECKS ISSUED
Check Number          Date                   Payee                            Purpose                           Amount




Total checks listed on this page
Total checks listed on continuation pages                                                                            $0.00


TOTAL DISBURSEMENTS FOR THE MONTH (include cash/electronic disbursements)                                            $0.00

                                                         Page 8




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Case Number: 4:17-bk-11112-BMW                             DISBURSEMENT DETAIL
                                                           CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                3017

                                                                         Bank Name UMB

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                    Amount




                                                  Total Cash/Electronic Disbursements              $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                    Amount




                                                                                                      0


TOTAL DISBURSEMENTS - THIS PAGE                                                                    $0.00

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Case Number: 4:17-bk-11112-BMW                              DISBURSEMENT DETAIL
                                                            CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                8039

                                                                         Bank Name UMB

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                    Amount




                                                  Total Cash/Electronic Disbursements              $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                    Amount




                                                                                                   $0.00


TOTAL DISBURSEMENTS - THIS PAGE                                                                    $0.00

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Case Number: 4:17-bk-11112-BMW                                    DISBURSEMENT DETAIL
                                                                  CONTINUATION SHEET
                                                                                Month: July
                                                                              Account #                 8826

                                                                             Bank Name Alliance

                                             Cash/Electronic Disbursements
                  Date               Payee                        Purpose                     Amount


                 7/10/2020 Paychex                   June, 2020                                        $58.00




                                                     Total Cash/Electronic Disbursements               $58.00

                                             CHECKS ISSUED
Check Number      Date               Payee                         Purpose                    Amount


         1209    7/10/2020 BNP Paribas               June, 2020                                   $2,269.94




                                                                                                  $2,269.94


TOTAL DISBURSEMENTS - THIS PAGE                                                                   $2,327.94

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Case Number: 4:17-bk-11112-BMW                              DISBURSEMENT DETAIL
                                                            CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                6840

                                                                         Bank Name Alliance

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                    Amount




                                                  Total Cash/Electronic Disbursements              $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                    Amount




                                                                                                   $0.00


TOTAL DISBURSEMENTS - THIS PAGE                                                                    $0.00

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Case Number: 4:17-bk-11112-BMW                              DISBURSEMENT DETAIL
                                                            CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                8991

                                                                         Bank Name Alliance

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                    Amount




                                                  Total Cash/Electronic Disbursements              $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                    Amount




                                                                                                   $0.00


TOTAL DISBURSEMENTS - THIS PAGE                                                                    $0.00

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  Case 4:17-bk-11112-BMW          Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                         Desc
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Case Number: 4:17-bk-11112-BMW                              DISBURSEMENT DETAIL
                                                            CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                5644

                                                                         Bank Name Alliance

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                    Amount




                                                  Total Cash/Electronic Disbursements              $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                    Amount




                                                                                                   $0.00


TOTAL DISBURSEMENTS - THIS PAGE                                                                    $0.00

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  Case 4:17-bk-11112-BMW          Doc 767 Filed 08/17/20 Entered 08/17/20 15:08:03                         Desc
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Case Number: 4:17-bk-11112-BMW                              DISBURSEMENT DETAIL
                                                            CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                 5644

                                                                         Bank Name Schmidt Sethi Trust

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                     Amount




                                                  Total Cash/Electronic Disbursements               $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                     Amount




                                                                                                    $0.00


TOTAL DISBURSEMENTS - THIS PAGE                                                                     $0.00

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Case Number: 4:17-bk-11112-BMW                              DISBURSEMENT DETAIL
                                                            CONTINUATION SHEET
                                                                            Month: July
                                                                          Account #                  5644

                                                                         Bank Name Waterfall Trust

                                          Cash/Electronic Disbursements
                  Date            Payee                        Purpose                     Amount




                                                  Total Cash/Electronic Disbursements                $0.00

                                          CHECKS ISSUED
Check Number      Date            Payee                        Purpose                     Amount




                                                                                                     $0.00


TOTAL DISBURSEMENTS - THIS PAGE                                                                      $0.00

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